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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES – GENERAL


Case No.        8:20-cr-00040-DOC                                                              Date: June 3, 2024

Present: The Honorable:     David O. Carter
Interpreter       N/A
                 Karlen Dubon                          Debbie Hino-Spaan                 Caitlin Campbell / Rosalind Wang
                   Deputy Clerk                       Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)            Present Cust    Bond                Attorneys for Defendants:              Present   App   Ret

4) LOUISE W. MUREITHI                   X            X                   H. Dean Steward, CJA                    X       X
6) JUSTIN DOUGLAS COZART                X            X                   Correen Ferrentino, ret.                X             X
8) JOHN MICHAELKORZELIUS                X            X                   Robert Schwarz, CJA                     X       X


PROCEEDINGS: STATUS CONFERENCE RE REPRESENTATION

                           MOTION FOR HEARING AS TO EVIDENTIARY HEARING TO
                           DETERMINE VERACITY OF WIRETAP AFFIDAVITS [603]


                  The case is called. The Court and counsel confer.

                  The Court hears oral arguments. Motion as to Evidentiary Hearing to
                  Determine Veracity of Wiretap Affidavits [603] is taken under submission.

                  Attorney Correen Ferrentino to remain as counsel of record for Defendant
                  Justin Cozart.




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                                                                                Initials of Deputy Clerk      kdu




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